Case 3:04}bk-11690-JAF Doc 1 Filed 11/17/04 Page 1 of 9
(ofnciairormi)(iz/os) ,’ ,.

l
FORM m Uiiited(States Bankruptcy Court
Middle . District of Florida

Narne of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) iLast, First, Middle):

 

Voluntary Petition

 

 

I(m a 1 r1 Tr\ c opin
All Other Names used by the Debtor in the last 6 years
(inc]ude married, maiden, and trade names):

 

All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):

 

Last four digits ofSoc. Sec.No./Complete EIN or other Tax l .D. No.
(if more than one, state all):

Street Address of Joint Debtor (No. & Stneet, City, State & Zip Code):

Last four digits ofSoc. Sec. No./Complete ElN or other Tax I.D.
NO. (ifmore than one, state all): 7160

Street Address of Debtor (No. & Street, Ci'ty, State & Zip Code):

2900 N. Atlantic Avenue, Unit 1705
Daytona Beach, FL 32118

 

 

County of Residenee or of the
Principal Place of Business:

County of Residence or of the

Prineipal Place of Business: VO 1115 ia

 

Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (1f ditferent from street address):

Same

 

 

Location of Principal Assets of` Business Debtor
(if different from street address above):

 

Information Regarding the Debtor (Check the Applicable Boxes)

Venue (Check any applicable box)

[X] Debtor has been domiciled or has had a residence principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

1:1 There is a bankruptcy case concerning debtor' s aft`iliate, general partner or partnership pending in this District.

 

Type of Debtor (Check an boxes that apply) Chapter or Section of Bankr'uptcy Code Under Whjch

[E lndividual(s)
[___1 Corporation
[:1 Partnership
13 Other

|:| Railroad
1:1 Stockbroker

1:1 Commodity Broker

1:] Clearing Bank

 

the Petition is Filed (Check one box)

[:1 Chapter 7
m Chapter 9

§§ Chapter ll
[:1 Chapter 12

I'___| Chapter 13

m Sec. 304 - Case ancillary to foreign proceeding

 

Nature of Debts (Check one box)
m Consumer/Non-Business g Business

Chapter ll Small Business (Check all boxes that apply)

1:1 Debtor is a small business as defined in ll U.S.C. § 101

1___] Debtor is and elects to be considered a small business under
ll U.S.C. § 1121(e)(0pt10nal)

Filing Fee (Check one box)
KX Full Filing Fee attached
[:] Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration
certifying that the debtor is unable to pay fee except in installments
Rule 1006(b). See Official Form No. 3.

 

 

 

Statistica|/Administrative Information (Estimates only) 'ri-iis sPAcE is ron couRr lisa oNLv

Debtor estimates that funds will be available for distribution to unsecured creditors.

Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will 1
be no funds available for distribution to unsecured creditors.

 

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Estimated Number of Creditoi's

 

 

Estimated Assets
30 to $50,001 to 5100,001 10 5500,001 to $1,000,001 to $10,(}00,001 to $50,000,001 to Morethaii. .'
$50,000 3100,000 $500,000 $l mllllOn $10 million $50 million $100 million $100 million ' " "
i:i i:i i:i i:i pra i:i m i;i :v
Estimated Debts -r ‘ ;g ' '
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$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

 

 

 

 

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Case 3:04-bl<-11690-.]AF Doc 1 Filed 11/17/04 Page 2 of 9

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(Official Form1) (12/03)

FORM B1, Page 2

 

Voluntary Petit:icn
(This page must be completed and filed in every case)

Name of Debtor(s):
JOSEPH KMAID

 

Location _ _ , _
Where Filed: Mlddle Dlstrlct, Florlda

Prior Bankruptcy Case Filed Within Last 6 Years (lf more than one, attach additional sheet)

Date Filed:

Case Number:
November lli, 2003

32 03-bk-11798-JAF

 

r Affi|iate of this Debtor (lf more than one, attach additional sheet)

 

 

 

Signature(s) of Debtor(s) (lndividual/Joint)

l declare under penalty of perjury that the information provided in this
petition is true and correct.

[lf petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] l am aware that | may proceed
under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed
under chapter 7.

| request relief in accordance with the chapter of title 11, United States
Code, specified i ` '

X

 
 
 

Signature of Debtor

deph Kmaid

 

 

 

Pending Bankruptcy Case Filed by any Spouse, Partner 0
Name of Debtor: Case Number: Date Filed:
None
District: Relationship: JUdg€!
S i g n atu re s
EXl'iil;)it A

(To be completed if debtor is required to tile periodic reports

(e.g., forms 10K and 100) with the Securities and Exchange

Commission pursuant to Section 13 or 15(d) of the $ecurities
Exchange Act of 1934 and is requesting relief under chapter 11)

[:] Exhibit A is attached and made a part of this petition.

 

Exhibit: B
(To be completed if debtor is an individual
whose debts are primarily consumer debts)
l, the attorney for the petitioner named in the foregoing petition,, declare
that l have informed the petitioner that [he or she] may proceed under
' 2 13 of title 11, ` - - States Code, and have

ll.lle ll~'

      
   

 

 

   

X X , ,_

Signature of Joint Debtor '9" re of Attomey for Debtor($)

Exhit)it C
Te§e§ho:;£l';r;t;er m nzo§)';£resemed by an°rney) Does the debtor own or have possession of any property that poses
p 60 ’ or is alleged to pose a threat of imminent and identifiable harm to
Date public health orsafety?
Signa ttorney lZl Yes, and Exhibit c is attacred and made a pan ofthis petition

X ,il ` f"~) z'u x » ` n NO

 

 

 

Signa re of Attomey for Debtor(s)

John S. Norton; Jr.
Printed Name of Attomey for Debtor(s)

John S, Norton, Jr., P.A.
Finn Name

431 N. Grandview Avenue

Addressl)avtona Beach. Fl 32118

('%86) 239-0770

Telephone Number
Se tember i

?Q¢W;ts>¢ /9¢_9

 
 
         

Date

Signature of Non-Att;orney Petition Preparer

| certify that l am a bankruptcy petition preparer as defined in 11 U.S.C.
§ 110, that l prepared this document for compensation and that l have
provided the debtor with a copy of this document

 

Printed Name of Bankruptcy Petition Preparer

 

Socia| Security Number (Required by 11 U.S.C.§ 110(c).)

 

Address

 

 

Signature of Debtor (Corporatioanartnership)
l declare under penalty of perjury that the information provided in this
petition is true and correct. and that | have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

 

Signature of Authorized individual

 

Printed Name of Authorized individual

 

Title of Authorized lndividua|

 

Date

Names and Socia| Security numbers of all other individuals who
prepared or assisted in preparing this document:

lf more than one person prepared this document, attach
additional sheets conforming to the appropriate official form for
each person.

X

 

Signature of Bankruptcy Petition Preparer

 

Date
A bankruptcy petition preparer's failure to comply with the provisions
of title 11 and the Federa| Ru|es of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 

 

Case 3:04-bl<-11690-.]AF Doc 1 Filed 11/17/04 Page 3 of 9

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

P E T I T I O N W O R K S H E E T

CASE NUMBER...: 04-11690-3Fl

DEBTOR ........ : KMAID, JOSEPH

JOINT.........:

FILED.........: 11/18/2004 CASE TYPE: l COUNTY: 12127
INDIVIDUAL....: PARTNERSHIP...: CORPORATION...:

DEBTOR'S ATTY.: JOHN S. NORTON [NORTON, J][2090745] PHONE: 386-239-0770

ADDRESS ....... : 431 NORTH GRANDVIEW AVENUE, SUITE B
DAYTONA BEACH, FL 32818

PHONE ......... : 386-239-0770

341 MEETING DATE AND TIME: §>g(@[ytig/Sl,§<>OLl/AT _\`. OO §§in

341 MEETING LOCATION: 300 (\d`f<ih |-§;ijotl’i f>`l'-J §Lti+€ l'§l(>©
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pR@ se \ l 0 i/ /:';/i yi’ 20 LRG UNSEC. LIST (CH 11>

i “' `

DISC. OF COMP.
EXHIBIT "A" (REQUIRED IF DEBTOR IS A CH 11 CORPORATION)
SUMMARY OF SCHEDULES
SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING)
DECLARATION UNDER PERJURY
STATEMENT OF FINANCIAL AFFAIRS
CH 7 STATEMENT OF INTENTIONS
CHAPTER 13 PLAN

COMMENTS:

 

 

cLAi:Ms BAR DATE= / / / CoMPLAINT DATE= / /
Fee information:

TOtal ~> $839.00

CaSe 3204-bl<-11690-JAF DOC l

Joscph Kmaid

2900 N. Atlantic Avenue
Unit 1705

Daytona Beach, FL 32118

John S. Norton, Jr.
431 N. Grandview Avenue
Daytona Beach, FL 32118

Intcrnal Revenue Service
Atlanta, Ga 39901

Advanta
P.O. Box 8088
Philadelphia, PA 19101

American Express
P.O. Box 360002
Ft. Lauderdale, FL 33336

AT&T Universal Card
P.(). 8204
S. Hackensack, N.J. 07606

Bank of America
P.O. Box 30770
Tampa, FL 33630

Best Buy
P.O. Box 5238
Car01 Stream, IL 60197

BMW Bank NA
P.O. Box 30311
Salt Lake City, UT 84130

Business Loan Express
645 Madison Avenue 19th
New York, NY 10022

Capital One Bank
P.O. Box 530081
Atlanta, GA 303 53

Filed 11/17/04 Page 4 of 9

CaSe 3204-bl<-11690-JAF DOC l

Chase Manhattan Bank
P.O. BoX 15654
Wilmington, DE 19886

Chase Freedom
P.(). Box 15583
Wilmington DE 19886

Chase Manhattan Mortgage
P.O. Box 9001871
Louiseville, KY 40290

Circuit City

FNANB

P.O. Box 830008
Baltimore, MD 21283

CitiFinancial
P.O. Box 220907
Charlotte, NC 28222

Discover
P.O. Box 15251
Wilmington, DE 19886

First Union
P.O. Box 15019
Wilmington, DE 19886

Fleet Credit Card Service
P.O. Box 15368
Wilmington, DE 19886

Gate Fuel

c/o Michael Kolcun, Esq

6960 Bonneval Road, Suite 202
Jacksonville, FL 32216-6012

GE Corporation
P.O. Box 410420
Salt Lake City, UT 84141

Filed 11/17/04 Page 5 of 9

CaSe 3204-bl<-11690-JAF DOC l

H.S.B.C.
H.S.B.C. Suite 5356
Buffalo, NY 1427()

Huntington
P.O. Box 5065 NE 09
Cleveland, OH 44101

Mayors
P.O. Box 918714
Or1ando, FL 32891

MBNA Platinum Plus
P.O. Box 15469
Wilrnington, DE 19886

Providian
P.O. Box 660026
Dallas Tean 75266

Rarny El Ghaly
2712 Halifax Drive
Daytona Beach, FL 32118

Sears Gold Mastercard
P.O. Box 105486
Atlanta, GA 30348

SouthTrust Bank
P.O. Box 830708
Birmingham, AL 35283

Todd K. Norman, Esquire
37 North Orartge Avenue
Orlando, FL 32802-3388

U.S. Bank
P.O. Box 790429
St. Louis, MO 63179

Wachovia Bank One
P.O. Box 15153
Wilmington, DE 19886

Filed 11/17/04 Page 6 of 9

CaSe 3204-bl<-11690-JAF DOC l

Western Union

6200 S Quebec Street

Suite 330

Greenwood Village, CO 80111-4729

lntegrated Payment Systems lnc.
6200 S Quebec Street

Suite 330

Greenwood Village, CO 80111-4729

Filed 11/17/04 Page 7 of 9

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(()fflcial Furm 1)(12/03) 1 ,L
l
FORM m baited states Bankruptcy Court
. z
mdde 1 Distrm of Florida Voluntary Petitlon

 

 

 

 

T('mo{/l Ir\nnnh

Name of D¢blor (ifindividuai, enter Ltlst, Ftrst, Middie);

Name of Joint chtor (Spouse) (Last, First, Mlddle):

 

Aii Other Namt’:is used b; lite Debtor in the last 6 years
(lnci\lde marrich maidcn. and trade nnmcs):

Ail Other Nomes used by the Joint Debtor in the last 6 years
(include mnm`ed, militkrn, end trad: names):

 

Last four digits of Soc. Sec. No./Cornpicte EfN or other Tax 1.D.
No. (i't`morc than one_ state all): 7160

Last four digits of Soc. Scc.No./Compictc E IN or other Tax I.D. bidA
(lfmore than one, state ail);

 

Street Address of Debtor (No. & Strcct. City. Stat¢ & Zip Code):

2900 N. Atlantic Avenue, Unlt 1705
Daytona Beach, FL 32118

Strcct Address of loint chlor (No. & Strcct, City, Slatc & Zip Codei;

 

County of Residence or of the
Principai Placc of Butiirless:

Volusia

County of Residerlcc or of thc
Principai Piaee ofBusiness:

 

Same

Mailing Address of chlor (l'f different fmm street address):

 

Mailing Address of Joint chtor (it`dtlfcrent from street address):

 

Location of Pnttcipal Assets of Busincss Debtor
(ii different from street address abovc):

 

Venue (Check any applicable box)

lnformatioo Regsrding tile Debtor (Clleck the Applicebie Boxes)

m Debtor has been domiciled or has hud a residence principal place ofbustness, or principal assets in this I)ismct for ilili days immediately
preceding the date of this petition or for a longer pan ofsuch 130 days than in any other District
m Thcrc is o bankruptcy case concerning debtor'u affiliate, general partncr. or partnership pending in this Ditm`ct.

 

 

Type uf Debtor (Checlc ali boxes that apply)

 

U Coneumer/Non-Btlsiness

[S Ind`tvidual(lt) U Ra.ilroad

[:] Corporation m Slocltbrokcr

m Pannetsiiip m Commodity Broker

[] other [§J cimmgeml
Nt\ture of Deth (Check one bo)t)

g B\tsiness

Chapter or Section ol` Bankruptcy Code Under Whlch
the Fedtion ix Filed (Chocit one boit)
[] Chapter 7 Chapter ii |:| Chapter 13
m Chapter 9 Chapter 12
[] see 304 - Cm ancillary to rare-iga proceeding

 

 

ti u.s c.§ ttzt(e) topimii)

Chapter l l Sm¢ll aninnss (Check all boxes that apply)
Debtor is n small business as delined in il UtStC. § 101
n Debtor is and elects to be considered a small business under

 

Filir\g Foe (Cl\eck one box]
m Fuii Fiiing Fcc attached
m Fi|ing Fee to be paid in installments (Appiicable to individuals only)
Must mach signed application for the coun'tt consideration
certifying that the debtor is mattie to pay fec except in installments
Rule 1006(11). See Offlciai Ftrtm No. 3.

 

 

 

 

 

Stltisticatll\dm|nlctutiva lnformntlon (Estimatea only) TH!! -‘\PM`E 13 FORCGURT vSE '>Ntir
chtor estimates that funds will be available for distribution to unsecured creditors
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there wt]i
be no hinds available for distribution to unsecured credilore,
Estimated Number ofCrcditors “‘5 ""° ’“°° 2°°'°99 ‘°°°*""
|'_'l ;§l ij l:| []
Estimated Assets
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550.000 stoo.r)oo 3500,000 $l million slo million 350 million side million sloo million
U 13 [J E] l.'.'] [J l:l
Estimated Deth
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(Oifii:ial Form 1) (12/03)

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FoRtvi Bt, Page z

 

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Name 01 Debtt!l$l:

JGSEPH KMAlD

 

l_oorltion
WM°F“B¢; Middl€ Distflct, FlOI§l.d&

Prior Bankruptcy Case Filed Within Last 6 Years (lf me than om. attach sddlilcml shoor)
Casa

flaw Filed:

Number:
3:03~bl<-»11798-JAF Novernber lli, 2003

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affi|iate of this Debtor (lt mm than one. am additional shear)

 

 

 

_ the relief available under each such chaptor, and choose to proceed

Signature(sl of Debtor(s) lindividuailjoint)

1 declare under penalty of perjury that the information provided ln this
petition is uue and curiam

[lf petitioner is an individual whose debts ma primarily consumer debts
andhaschosantoflletlndetchaptar il lamawtrrotnatl maypmoeed
under chapter 1, '11, 12 or 13 of title 11, United States Code. understand

Name of Debtor: Caso Number: Date Filed:
None
District: Reiallonshlp: »*W§¢f
5 ign a tu res
Exhibit A

(To be completed lidebtor is required to fil» periodic reports

log.. forms 10K and 10Q) with the Secr.rities and Exchange

Commirnion minn to Sectioi‘l 13 or15(d} of the Secvrltias
Exchange Act of 1934 ami ls requesting relief under chapter 11)

ij Exhlt)it A is attached and made a part of this petition

 

under chapter 1.
lmth relief in accordance with the chapter oft`ltte 11, United States

Code, specified i is petition
t \ "\`
X':&;T~§\__

 

 

E)thlblt ii
(To be completed if debtor is an incivlttial
whose debts are prima'ily consumer debts)
l, the attorney for the tlonor named in the foregoing petition declare
trial 1 have informed petitioner inst [he or snel may proceed wider

  

empl title 11. ' ' Stotes Code, and have
e)tp . 1 such chapter
X .

~ g l Attomey for Debtor(s) Date

 

 

 

 

ExhibltC
Doeslhedebtorownor twvopo-s"-mlonolany propertythatposes
or lsallegedto ptnesthreatof imminantand terminable hamm
Sbllc haalttlorsarety?
Yes, and E)thlblt C is waited and made a part oi‘ this petition

DNo

 

Signature ofDebtor 3 eph Kmaid
X
Signature orlaHK Debwr
Telephone Number (llr not represented by anomey)
Septemberjo, 2004
U§ia
51 ttorney
X
Signa qu y for Debtor(s)

John S. Norton; Jr.

Printed Name of Attomey fur Debtor(s)
John S. Norton, Jr., P.A.

Flrm Name
431 N. Grandview Avenue

M"°’l)avrona sworn il 3211&

 

 

_QHB\ 219-0711)
Telephone Nunber
segenber}o,zooti A/d‘T//ZZM!'

Date ZQS: zyz S£ZQ

Signature ofDebtor (Corporation/Partnership)
1 declare under penalty ofperjury inst lite infonnatlon provided in mls
petition ls tma and correct and thall have been nlhtllztsd to file this
petition on behalf ot the debtor.
The debtor mmsmller in accordance with lhnchaplor or title 1 1,
United States Code, specified in this petition

 

Signature uf Authorized individual

 

Printed Name ofAuthorized individual

 

Tl[la ofAllihotlluilndlvldtlal

 

Daia

j

 

 

Signature of Non-Atrorney Petitlon Preparer

1 certify t!rirt 1 am a bankruptcy petition proporar as denned in 11 U.S.C.
§110, that l prepared this doum\ent for oompamstion, and that l have
provided Uledebtcr wllhacopyof thlsdocument.

 

Printed Name of Bankruptcy petition Ptepart¥

 

social secutty Nrnii>erlneqoirrir ivy 11 u.s.c,§ lto(i:).)

 

Address

 

Nomes and SOclal Sei:urlty numbers of all other indivi¢itnls vid'io
prepared or assisted in preparing this document:

lt more than mtsperson prepared this document attach
additional sheets conforming to rha appropriate omclai form for

each person

X

 

Signature 01 Bankruptcy Potltiori Preparer

 

Date
A bankriq)tcy petition preparer's fallin to comply with the provisions

ol title 11 and lite Fodorrri Ru|es tit Bankruptcy Promduta may pruitt
in niles or lmptlsonrmnt or both 11 U.S.C. §110; 18 U.S.C. §iSiB.

 

 

